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                                          Los Angeles, CA 90071
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                                      7   Attorneys for Defendant
                                          Southwest Credit Systems, LP
                                      8

                                      9
                                                                  UNITED STATES DISTRICT COURT
                                     10
                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                     11
633	West	Fifth	Street,	Suite	2800	




                                     12   CARRIE COUSER,                          Case No.: 5:16-cv-01044
    Los	Angeles,	CA	90071	
    YU	|	MOHANDESI	LLP	




                                     13             Plaintiff,                    [Removal from the Superior Court of
                                                                                  California for the County of Riverside,
                                     14             vs.                           Case No. RIC1603776]
                                     15   SOUTHWEST CREDIT SYSTEMS,               DEFENDANT SOUTHWEST
                                          L.P.; DOES 1-10 INCLUSIVE.              CREDIT SYSTEMS, LP’S NOTICE
                                     16                                           OF REMOVAL PURSUANT TO 28
                                                    Defendant.                    U.S.C. §§ 1331, 1441(C), AND 1446
                                     17
                                                                                  [FEDERAL QUESTION]
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                                                                         NOTICE OF REMOVAL
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                                      1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                      2   THE CENTRAL DISTRICT OF CALIFORNIA:
                                      3         PLEASE TAKE NOTICE that Defendant Southwest Credit Systems, LP,
                                      4   (“Defendant”) hereby removes the action described below from the Superior Court of
                                      5   California for the County of Riverside, to the United States District Court for the
                                      6   Central District of California, pursuant to Sections 1331, 1441(c), and 1446 of Title
                                      7   28 of the United States Code (“U.S.C.”). As set forth more fully below, this case is
                                      8   properly removed to this Court pursuant to 28 U.S.C. § 1441 because Defendant has
                                      9   satisfied the procedural requirements for removal and this Court has subject matter
                                     10   jurisdiction over this action pursuant to 28 U.S.C. § 1331. In support of this Notice of
                                     11   Removal, Defendant states as follows:
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                                     12   I.    THIS COURT HAS SUBJECT MATTER JURISDICTION PURSUANT
    Los	Angeles,	CA	90071	
    YU	|	MOHANDESI	LLP	




                                     13         TO 28 U.S.C. SECTIONS 1331 AND 1441
                                     14         On or about April 1, 2016, plaintiff Carrie Couser (“Plaintiff”) filed a
                                     15   Complaint in the Superior Court of California for the County of Riverside (“Superior
                                     16   Court”), entitled Carrie Couser v. Southwest Credit Systems, L.P., Case No.
                                     17   RIC1603776. In the Complaint, Plaintiff alleges, among other things, that Defendant
                                     18   furnished inaccurate information to credit reporting agencies regarding a debt owed by
                                     19   Plaintiff. Complaint, ¶¶ 5, 9. Based on these allegations, Plaintiff asserts three causes
                                     20   of action against Defendant: (1) violation of the Rosenthal Fair Debt Collection
                                     21   Practices Act (“RFDCPA”), Cal. Civ. Code §1788 et seq.; (2) violation of the Fair
                                     22   Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq.; and (3) violation of the
                                     23   California Consumer Credit Reporting Agencies Act (“CCRAA”), Cal. Civ. Code
                                     24   1785.25(a). The Complaint is attached hereto as Exhibit A, as required by 28 U.S.C.
                                     25   § 1446(a).
                                     26         Because this action arises under federal law (the FCRA), which can be
                                     27   ascertained from the face of Plaintiff’s Complaint, this Court has original jurisdiction
                                     28   pursuant to 28 U.S.C. § 1331. Further, this Court has supplemental jurisdiction over
                                                                                    –2–
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                                      1   Plaintiff’s state law claims (the RFDCPA, and CCRAA), which form part of the
                                      2   “same case or controversy” pursuant to 28 U.S.C. § 1367(a). Specifically, like
                                      3   Plaintiff’s FCRA claim, Plaintiff’s state law claims also allege that Defendant
                                      4   furnished inaccurate information to credit reporting agencies regarding a debt owed by
                                      5   Plaintiff. Complaint, ¶¶ 21-22, 27-32. Accordingly, this action may be removed to
                                      6   this Court pursuant to 28 U.S.C. § 1441.
                                      7   II.   THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE
                                      8         SATISFIED
                                      9         On or about April 1, 2016, Plaintiff filed this action in the Superior Court of
                                     10   California for the County of Riverside. Defendant was served with the Complaint on
                                     11   April 20, 2016. This Notice of Removal is timely in that it was filed within 30 days
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                                     12   from the time Defendant had notice that the action was removable, and less than a
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    YU	|	MOHANDESI	LLP	




                                     13   year after the commencement of the action. See 28 U.S.C. § 1446(b).
                                     14         The Superior Court of California for the County of Riverside is located within
                                     15   the United States District Court for the Central District of California, Eastern
                                     16   Division. See 28 U.S.C. § 84(c)(1). Thus, venue is proper in this Court because it is
                                     17   the “district and division embracing the place where such action is pending.” 28
                                     18   U.S.C. § 1441(a).
                                     19         In compliance with 28 U.S.C. § 1446(d), Defendant will serve on Plaintiff and
                                     20   file with the Clerk of the Superior Court a written notice of the filing of this Notice of
                                     21   Removal, attaching a copy of this Notice of Removal.
                                     22         No previous application has been made for the relief requested herein.
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                                                                             NOTICE OF REMOVAL
                                      Case 5:16-cv-01044-FMO-JPR Document 1 Filed 05/20/16 Page 4 of 5 Page ID #:4



                                      1         WHEREFORE, Defendant respectfully removes this action from the Superior
                                      2   Court of California for the County of Riverside to this Court pursuant to 28 U.S.C. §§
                                      3   1331, 1441 and 1446.
                                      4

                                      5         DATED: May 20, 2016
                                                                                YU | MOHANDESI LLP
                                      6

                                      7
                                                                                By      /s/ Brett B. Goodman
                                      8                                              B. Ben Mohandesi
                                                                                     Jordan S. Yu
                                      9                                              Brett B. Goodman
                                                                                     Attorneys for Defendant
                                     10                                              Southwest Credit Systems, LP

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    YU	|	MOHANDESI	LLP	




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                                                                            NOTICE OF REMOVAL
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                                      1                              CERTIFICATE OF SERVICE
                                      2          I am a resident of the State of California, over the age of eighteen years, and not
                                      3   a party to the within action. My business address is Yu | Mohandesi LLP, 633 West
                                          Fifth Street, Suite 2800, Los Angeles, CA 90071. On May 20, 2016, I served the
                                      4   following document(s) by the method indicated below:
                                      5
                                               DEFENDANT SOUTHWEST CREDIT SYSTEMS, LP’S NOTICE OF
                                      6         REMOVAL PURSUANT TO 28 U.S.C. §§ 1331, 1441(C), AND 1446
                                      7
                                                by transmitting via facsimile on this date the document(s) listed above to
                                      8         the fax number(s) set forth below. The transmission was completed before
                                                5:00 p.m. and was reported complete and without error. Service by fax was
                                      9         ordered by the Court.
                                           X    by placing the document(s) listed above in a sealed envelope with postage
                                     10         thereon fully prepaid, in the United States mail at Los Angeles, California
                                                addressed as set forth below. I am readily familiar with the firm’s practice
                                     11         of collection and processing of correspondence for mailing. Under that
                                                practice, it would be deposited with the U.S. Postal Service on that same
633	West	Fifth	Street,	Suite	2800	




                                     12         day with postage thereon fully prepaid in the ordinary course of business.
    Los	Angeles,	CA	90071	
    YU	|	MOHANDESI	LLP	




                                                by placing the document(s) listed above in a sealed envelope(s) and by
                                     13         causing personal delivery of the envelope(s) to the person(s) at the
                                                address(es) set forth below.
                                     14         by having the document(s) listed above hand-delivered to the person(s) at
                                                the address(es) set forth below.
                                     15
                                                by placing the document(s) listed above in a sealed envelope(s) and
                                     16         consigning it to an express mail service for guaranteed delivery on the next
                                                business to the address(es) set forth below.
                                     17         by emailing the document(s) listed above to the person(s) at the address(es)
                                                set forth below.
                                     18

                                     19   Plaintiff’s Counsel
                                          Todd M. Friedman
                                     20   Adrian R. Bacon
                                     21   Meghan E. George
                                          Law Offices of Todd M. Friedman, P.C.
                                     22   324 S. Beverly Dr. #725
                                     23   Beverly Hills, CA 90212

                                     24         I declare under penalty of perjury under the laws of the State of California that
                                     25   the above is true and correct. Executed on May 20, 2016, at Los Angeles County,
                                          California.
                                     26

                                     27
                                                                            ___________________________________
                                     28                                                    Diana Choe
                                                                                    –5–
                                                                           CERTIFICATE OF SERVICE
